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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STA TES OF AMERICA,                           )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )       No. 4:16CR106 RLW
                                                     )
JAMES BOWEN,                                         )
                                                     )
               Defendant.                            )

                                             ORDER

       This matter is before the Court on the Motion for Leave to Withdraw and the sealed

Amended Motion for Leave to Withdraw as counsel for Defendant James Bowen. (ECF Nos. 73,

75) In the motions, counsel for Defendant, Assistant Federal Public Defender Brocca Morrison

of the Federal Public Defender's Office for the Eastern District of Missouri, asserts she is unable

to represent Defendant on his motion for compassionate release due to a conflict of interest. The

amended motion states the Federal Public Defender for the Southern District of Illinois has

agreed to accept the case ifthe Court finds it appropriate. Upon review of the motions, the Court

finds withdrawal of Brocca Morrison as counsel for Defendant is appropriate, and the Court will

appoint the Federal Public Defender of the Southern District of Illinois to represent Defendant.

       Accordingly,

       IT IS HEREBY ORDERED that the Motion for Leave to Withdraw and the sealed

Amended Motion for Leave to Withdraw as counsel for Defendant James Bowen by Assistant

Public Defender Brocca Morrison (ECF Nos. 73, 75) are GRANTED.
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           IT IS FURTHER ORDERED that the Federal Public Defender for the Southern District

of Illinois is appointed as counsel for Defendant James Bowen on his motion for compassionate

release.

           Dated   this~ of May, 2020.

                                                   ~L~
                                                   RONNIE L. WHITE
                                                   UNITED STATES DISTRICT JUDGE




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